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PROB12A1                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                   CLEADUS SHELTON

Docket Number:                   1:00CR05102-006 REC

Offender Address:                Fresno, California

Judicial Officer:                Honorable Oliver W. Wanger
                                 United States District Judge
                                 Fresno, California

Original Sentence Date:          03/26/2001

Original Offense:                Conspiracy to Distribute Methamphetamine, 21 USC
                                 846 and 841(a)(1)
                                 (CLASS A FELONY)

Original Sentence:               45 months BOP; 60 months TSR; $100 SA; Mandatory
                                 Drug Testing

Special Conditions:              1) Search; 2) Drug/alcohol treatment; 3) Drug testing;
                                 4) No paging/cellular device without USPO permission;
                                 5) Abstain from alcohol; 6) Co-payment; and, 7)
                                 Register as drug offender.

Type of Supervision:             Supervised release

Supervision Commenced:           12/20/2002

Assistant U.S. Attorney:         Dawrence W. Rice Jr.     Telephone: (559) 497-4000

Defense Attorney:                Federal Defender         Telephone: (559) 487-5561

Other Court Action:

01/20/2004:                      Court advised of use of drugs (11/12/03: cocaine;
                                 12/15/03: methamphetamine). Court approved USPO
                                 plan and no further action was ordered.


                                                                                 R ev. 04/2005
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RE:    CLEADUS SHELTON
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03/02/2004:                       Form 12C - Petition for Warrant signed by Court
                                  following allegations of: 1) Use of a Controlled
                                  Substance; 2) Failure to Participate in Substance Abuse
                                  Counseling; 3) Failure to Participate in Drug Testing; 4)
                                  Failure to Notify USPO of Address Change

05/24/2004:                       Court dismisses Counts 1 and 3 of the Petition.
                                  Supervised release continued and modified to include
                                  a 180-day placement at Turning Point Community
                                  Corrections Center.

06/22/2004:                       Form 12C - Petition for Warrant filed alleging Failure to
                                  Comply with Turning Point Community Corrections
                                  Center Program Rules and Regulations. Warrant
                                  issued for arrest.

08/23/2004:                       Following finding of a violation, supervised release is
                                  revoked. Sentenced to 9 months BOP, and re-
                                  imposition of supervised release for 40 months.

Supervision Re-Commenced:         02/11/2005


                            NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.    ILLICIT DRUG USE: (02/02/2006: Amphetamine/Methamphetamine)


Details of alleged non-compliance: On February 2, 2006, the releasee submitted a
random urine specimen which returned positive to amphetamine/methamphetamine. Upon
questioning, the releasee promptly admitted using the drug when socializing at a nightclub.


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United States Probation Officer Plan/Justification: This represents the releasee's first
known use of illicit drugs since being re-released in February 2005. This officer
intentionally delayed notifying the Court to determine whether other drug use would
surface. There have not been any subsequent positive tests to date.

On a good note, the releasee has been employed full-time for a swimming pool
construction company and has been award several 'letters of appreciation' by customers
for a job well done. He has been residentially stable; he is living in an apartment with his
parents. He is getting engaged with plans of marrying in the near future.

The releasee is remorseful for this personal setback and is committed to living a clean and
sober life. He will continue participating in random drug testing and weekly aftercare
services. He was given a verbal reprimand by this officer and warned that future drug use
will result in adverse action being taken against him.

It is therefore recommended that no action be taken at that time other than continued
supervision by the probation officer.

                                   Respectfully submitted,

                                    /s/ Hubert Alvarez

                                HUBERT J. ALVAREZ
                        Senior United States Probation Officer
                             Telephone: (559) 499-5727


DATED:        March 21, 2006
              Fresno, California
              HJA/mb




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REVIEWED BY:        /s/ Bruce Vasquez
                    BRUCE A. VASQUEZ
                    Supervising United States Probation Officer



THE COURT ORDERS:

(X)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.

( )   Submit a Request for Modifying the Conditions or Term of Supervision.

( )   Submit a Request for Warrant or Summons.

( )   Other:

IT IS SO ORDERED.

Dated: March 23, 2006                      /s/ Oliver W. Wanger
emm0d6                                UNITED STATES DISTRICT JUDGE




                                                                                   R ev. 04/2005
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